Case 8:19-mc-00005-AG-DFM Document 26-5 Filed 10/12/18 Page 1 of 3 Page ID #:614




                                 Exhibit E
Case
Case 8:17-cv-00118-AG-DFM
     8:19-mc-00005-AG-DFM Document
                           Document374
                                    26-5Filed
                                          Filed
                                              10/02/18
                                                10/12/18Page
                                                         Page1 of
                                                               2 of
                                                                  2 3Page
                                                                      PageIDID
                                                                             #:15095
                                                                               #:615

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
  Case No.       SA CV 17-00118-AG (DFMx)                                  Date      October 2, 2018
  Title          In re Banc of California Securities Litigation




 Present: The Honorable        Douglas F. McCormick
                 Nancy Boehme                                                 n/a
                   Deputy Clerk                                     Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         n/a                                                   n/a
Proceedings:               (In Chambers) Order re: (1) Deposition Issues (Dkt. 358, 359) and (2)
                           Sugarman’s Motion to Compel Further Responses to Requests for
                           Admission and Requests for Production from Banc (Dkt. 345)


                                           Deposition Issues

        Defendant Banc of California, Inc. (“Banc”) seeks a wide-ranging protective order about
forthcoming depositions. Defendant Steven A. Sugarman (“Sugarman”) also seeks an order that
largely asks for Banc’s requests to be denied. For the reasons stated on the record, the Court will
not deviate from the presumptive rules governing depositions, nearly all of which are consistent
with Sugarman’s position. Banc’s request is accordingly DENIED. To the extent any specific issues
remain (or arise) about forthcoming depositions, the parties are ORDERED to bring the issue to
the Court’s attention through its informal telephone conference procedure, through which the
Court will determine what if any briefing is necessary.

                                    Sugarman’s Motion to Compel

       Sugarman moves to compel further responses from Banc to Sugarman’s Requests for
Admission Nos. 16, 17, 18, and 81 and Request for Production No. 94. For the reasons set forth
below, Sugarman’s motion to compel is DENIED.

        Four of Sugarman’s five written discovery requests—all but RFA No. 81—relate to the
Seabold Amended Answer. To summarize those requests, Sugarman seeks information about
whether Banc provided a copy of the Seabold Amended Answer to a Los Angeles Times reporter in
January 2018. Sugarman contends that answers to its discovery requests are necessary to address
the allegations contained in the Seabold Amended Answer.

        Banc argues that allowing discovery about communications between Banc and the Los
Angeles Times about the Seabold Amended Answer in January 2018 has little if any relevance to
the issues presented by this case, i.e., whether the April 2016 Proxy was misleading, and if so,

CV-90 (10/08)                             CIVIL MINUTES - GENERAL                                Page 1 of 2
Case
Case 8:17-cv-00118-AG-DFM
     8:19-mc-00005-AG-DFM Document
                           Document374
                                    26-5Filed
                                          Filed
                                              10/02/18
                                                10/12/18Page
                                                         Page2 of
                                                               3 of
                                                                  2 3Page
                                                                      PageIDID
                                                                             #:15096
                                                                               #:616

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
  Case No.      SA CV 17-00118-AG (DFMx)                                     Date    October 2, 2018
  Title         In re Banc of California Securities Litigation


whether those misleading statements were made with intent to mislead investors. See Dkt. 345-1
(“JS”) at 8. The Court agrees.

       While the Court concluded that the scope of permissible discovery in this action includes the
circumstances of his January 2017 resignation, see Dkt. 145 at 2, the expansion of that scope is not
unlimited. At some point the basis for extending discovery beyond the circumstances surrounding
the April 2016 Proxy becomes sufficiently attenuated that the relevance goes from slight to
marginal to zero. The instant written discovery requests reach that point.

      Sugarman’s fifth written discovery request, RFA No. 81, seeks information about whether
Banc knew that its outside auditor visited a Banc executive’s home. Any such visit is likewise
beyond the scope of relevant discovery.




                                                                                             :
                                                         Initials of Clerk      nb




CV-90 (10/08)                            CIVIL MINUTES - GENERAL                                 Page 2 of 2
